
80 So. 3d 450 (2012)
Sherman HINSON, Appellant,
v.
FLORIDA DEPARTMENT OF CORRECTIONS, Appellee.
No. 1D11-6594.
District Court of Appeal of Florida, First District.
February 23, 2012.
Sherman Hinson, pro se, Appellant.
Jennifer Parker, General Counsel, and Barbara Debelius, Assistant General Counsel, Florida Department of Corrections, Tallahassee, for Appellee.
PER CURIAM.
DISMISSED as premature, without prejudice to appellant's right to seek review upon rendition of an appealable final order.
VAN NORTWICK, LEWIS, and SWANSON, JJ., concur.
